Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 1
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 2
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 3
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 4
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 5
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 6
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 7
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 8
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 9
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 10
                                    of 12
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 11
                                    of 12




                                                     Footnotes


    *   The Honorable Eugene E. Siler, Jr., Circuit Court Judge, Sixth Circuit, sitting by designation.

    1   The Rooker–Feldman doctrine, based on two United States Supreme Court cases, Rooker v. Fidelity Trust
        Co., 263 U.S. 413, 415–16, 44 S.Ct. 149, 68 L.Ed. 362 (1923), and District of Columbia Court of Appeals v.
Case No. 1:20-cv-00742-DDD-KAS Document 379-2 filed 08/28/23 USDC Colorado pg 12
                                    of 12




         Feldman, 460 U.S. 462, 482, 103 S.Ct. 1303, 75 L.Ed.2d 206 (1983), “prevents the lower federal courts from
         exercising jurisdiction over cases brought by state-court losers challenging state-court judgments rendered
         before the district court proceedings commenced.” Lance v. Dennis, 546 U.S. 459, ––––, 126 S.Ct. 1198,
         1199, 163 L.Ed.2d 1059 (2006) (internal quotation marks omitted).

    2    This court concluded it lacked jurisdiction over the district court's order granting defendants' motions for
         sanctions and/or fees and costs against Mulhern because, at the time of its decision, the district court had
         not entered an order determining the amount to be awarded to one group of defendants (the district court
         ultimately issued an order in that regard on February 15, 2005).

    3    In response, defendants “concede that the Tenth Circuit has held that a district court should consider the
         plaintiff's ability to pay in determining the amount of fees.” Aplee. Br. at 3. In support of this concession,
         defendants cite to White v. Gen. Motors Corp., 908 F.2d 675 (10th Cir.1990). White, however, did not deal
         with an award of fees under § 1988, but rather with the appropriate amount of sanctions under Rule 11. Thus,
         White is not controlling.



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